IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

 

UNITED STATES OF AMERICA, CRIMINAL NO. 22-205(FAB)
Plaintiff,
Vv. tet eae,
~ RECEIVED 2 -
[9] Nelson Suarez-Ortiz, = CLERK'S OFFICE. ®
a/k/a “El Cocinero’”’, “El Quemao” IEP on Anan =
Defendant. we oUle Dy
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PLEA AGREEMENT % SAN JUAN, PR gv

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TO THE HONORABLE COURT:

The United States of America, Defendant, Nelson Suarez-Ortiz, and
Defendant’s counsel, Lydia Lizarribar-Masini, Esq., pursuant to Federal Rule of
Criminal Procedure 11, state that they have reached a Plea Agreement, the terms and
conditions of which are as follows: :

1. Charges to which Defendant will Plead Guilty

Defendant agrees to plead guilty to Counts One and Three of the Indictment:

Count One: From at least in or about the year 2020 and continuing up to and
until March 16, 2021, in Puerto Rico, and elsewhere, and within the jurisdiction of
this Court, [9] Nelson Suarez-Ortiz, a/k/a “El Cocinero”, “El Quemao”’, did
knowingly and intentionally, combine, conspire, and agree with others, to commit an
offense against the United States, that is, to knowingly and intentionally possess with
intent to distribute five kilograms or more of a mixture and substance containing a
detectable amount of cocaine, a Schedule IT Narcotic Drug Controlled Substance in

violation of 21 U.S.C. §§ 841(a)(1) & (b)(1)(A)Gi) and 846.
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Count Three: From at least in or about the year 2020 and continuing up to and
until March 16, 2021, in Puerto Rico, and elsewhere, and within the jurisdiction of
this Court, [9] Nelson Suarez-Ortiz, a/k/a “El Cocinero”, “El Quemao”’, did
knowingly combine, conspire, and agree with others, to commit offenses against the
United States in violation of 18 U.S.C. §§ 1956, to wit: to knowingly conduct and
attempt to conduct financial transactions affecting interstate commerce and foreign
commerce, which transactions involved the proceeds of specified unlawful activity,
that is, drug trafficking, knowing that the transactions were designed in whole or in
part conceal and disguise the nature, location, source, ownership, and control of the
proceeds of specified unlawful activity, and that while conducting and attempting to
conduct such financial transactions, knew that the property involved in the financial
transactions represented the proceeds of some form of unlawful activity. All in
violation of 18 U.S.C. §§ 1956(a)(1)(B)G) & (h).

2. Stipulation as to the Amount of Narcotics

The United States of America and the defendant stipulate and agree that the
defendant shall be held accountable for conspiring to possess with intent to distribute
at least fifty kilograms (50KG) but less than one-hundred and fifty kilograms (I50KG)
of cocaine, a Schedule II Narcotic Drug Controlled Substance.

3. Maximum Penalties

The maximum statutory penalty for the offense charged in Count One of the

Indictment, is a term of imprisonment of not less than ten (10) years and not more

than life; a fine not to exceed the greater of that authorized in accordance with the

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provisions of Title 18 or ten million dollars (10,000,000); and a supervised release

term of at least five (5) years, all pursuant to 21 U.S.C. §§ 841(a)(1) & (6)(1)(A)Gi) and

846.

The maximum statutory penalty for the offense charged in Count Three of the
Indictment, is a term of imprisonment of not more than twenty (20) years; a fine of
not more than five hundred thousand dollars ($500,000) or twice the value of the
monetary instrument of funds involved in the transportation, transmission, or
transfer, whichever is greater, all pursuant to 18 U.S.C. §§ 1956(a)(1)(B)(i) & (h); and
a supervised release term of not more than five (5) years, all pursuant to 18 U.S.C. §
3583.

4. Sentencing Guidelines Applicability

Defendant understands that the sentence will be imposed by the Court in

accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which are advisory pursuant to the United States Supreme
Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant
acknowledges that parole has been abolished, and that the imposition of Defendant’s
sentence may not be suspended.

5. Special Monetary Assessment

Defendant agrees to pay a special monetary assessment (“SMA”) of one

hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the

Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(@)(A).

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6. Fines and Restitution
The Court may, pursuant to Section 5E1.2 of the Guidelines order Defendant
to pay a fine. The Court may also impose restitution. Defendant agrees to execute and
make available, prior to sentencing, a standardized financial statement (OBD Form
500). The United States will advocate on behalf of any identified victim and comply
with its obligations under the Mandatory Victim Restitution Act of 1996.
7. Sentence to be Determined by the Court
Defendant understands that the sentence to be imposed will be determined
solely by the United States District Judge. The United States cannot make and has not
made any promise or representation as to what sentence Defendant will receive. Any
discussions that the parties might have had about possible sentences are not binding in
any way on the Court, and do not constitute representations about what the parties
will seek, or what the actual sentence will be.
8. Recommended Sentencing Guidelines Calculations
After due consideration of the relevant factors enumerated in 18 U.S.C. §
3553(a), the United States and Defendant submit that the advisory Guidelines
calculations listed below apply to Defendant. However, Defendant acknowledges that

the Court is not required to accept those recommended Guidelines calculations.

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SENTENCING GUIDELINES CALCULATIONS
COUNT ONE AND THREE oe
21 U.S.C. §§ 841(a)(1) & (b)(1)(A) Gi) and 846; 18 U.S.C. §§ 1956(a)(1)(B)G@) & (bh)
Base Offense Level pursuant to U.S.S.G. § 2D1.1(c)(3) 34
Money Laundering pursuant to U.S.S.G. § 2S1.1(b)(2)(B) 42
Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1 3
TOTAL ADJUSTED OFFENSE LEVEL 33
CH Cat. I | CH Cat. 1] CH Cat. IT) CH Cat.Iv | CH Cat. V | CH Cat. VI
135-168 151-188 168-210 188-235 210-262 235-293

 

 

 

 

 

 

 

e Counts One and Three grouped pursuant to U.S.S.G. § 3D1.2

9. Sentence Recommendation

As to Count One and Three, and after due consideration of the relevant factors

mandatory sentence per statute.

enumerated in 18 U.S.C. §3553(a), the parties agree to request a sentence of
imprisonment of 135 months regardless. of Defendant’s criminal history category.

Defendant acknowledges that 120 months of imprisonment is the minimum

The parties agree that any recommendation by either party for a term of

a material breach of the Plea Agreement.

10. No Stipulation as to Criminal History Category

imprisonment below or above the stipulated sentence recommendation will constitute

The parties do not stipulate as to any Criminal History Category for Defendant.

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11. Waiver of Appeal
Defendant knowingly and voluntarily agrees that, if the imprisonment sentence
imposed by the Court is 135 months or less, Defendant waives the right to appeal any
aspect of this case’s judgment and sentence, including, but not limited to the term of
imprisonment or probation, restitution, fines, forfeiture, and the term and conditions
of supervised release.
12. No Further Adjustments or Departures
The United States and Defendant agree that no further adjustments or
departures to Defendant’s total adjusted base offense level and no variant sentence
under 18 U.S.C. § 3553—other than any explicitly provided for in this Plea
Agreement—shall be sought by Defendant. The parties agree that any request by
Defendant for an adjustment or departure that is not explicitly provided for in this Plea
Agreement will be considered a material breach of this Plea Agreement, and the
United States will be free to ask for any sentence, either guideline or statutory.
13. Satisfaction with Counsel
Defendant is satisfied with counsel, Lydia Lizarribar-Masini, Esq., and asserts
that counsel has rendered effective legal assistance.
14. Rights Surrendered by Defendant Through Guilty Plea
Defendant understands that by entering into this Plea Agreement, Defendant
surrenders and waives certain rights as detailed in this agreement. Defendant

understands that the rights of criminal defendants include the following:

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a. If Defendant had persisted in a plea of not guilty to the charges,
Defendant would have had the right to a speedy jury trial with the
assistance of counsel. The trial may be conducted by a judge sitting
without a jury if Defendant, the United States and the judge agree.

b. If a jury trial is conducted, the jury would be composed of twelve lay
persons selected at random. Defendant and Defendant's attorney would
assist in selecting the jurors by removing prospective jurors for cause
where actual bias or other disqualification is shown, or by removing
prospective jurors without cause by exercising peremptory challenges.
The jury would have to agree, unanimously, before it could return a
verdict of either guilty or not guilty. The jury would be instructed that
Defendant is presumed innocent, that it could not convict Defendant
unless, after hearing all the evidence, it was persuaded of Defendant’s
guilt beyond a reasonable doubt, and that it was to consider each charge
separately.

c. Ifa trial is held by the judge without a jury, the judge would find the facts
and, after hearing all the evidence and considering each count separately,
determine whether or not the evidence established Defendant’s guilt
beyond a reasonable doubt.

d. At a trial, the United States would be required to present its witnesses
and other evidence against Defendant. Defendant would be able to
confront those witnesses and Defendant’s attorney would be able to
cross-examine them. In turn, Defendant could present witnesses and
other evidence on Defendant’s own behalf. If the witnesses for Defendant
would not appear voluntarily, Defendant could require their attendance
through the subpoena power of the Court.

e. Atatrial, Defendant could rely on the privilege against self-incrimination
to decline to testify, and no inference of guilt could be drawn from

Defendant’s refusal to testify. If Defendant desired to do so, Defendant
could testify on Defendant’s own behalf.

15. Stipulation of Facts
The accompanying Stipulation of Facts signed by Defendant is hereby

incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and

agrees that the facts therein are accurate in every respect. Defendant agrees and accepts

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that had the matter proceeded to trial, the United States would have proven those facts
beyond a reasonable doubt.
16. Limitations of Plea Agreement
This Plea Agreement binds only the United States Attorney’s Office for the
District of Puerto Rico and Defendant. It does not bind any other federal district, state,
or local authorities.
17. Entirety of Plea Agreement
This written agreement constitutes the complete Plea Agreement between the
United States, Defendant, and Defendant’s counsel. The United States has made no
promises or representations except as set forth in writing in this Plea Agreement and
denies the existence of any other terms and conditions not stated herein.
18. Amendments to Plea Agreement
No other promises, terms or conditions will be entered. into between the parties
unless they are in writing and signed by all parties.
19. Dismissal of Remaining Counts
At sentencing should there be any pending counts, and should the Defendant
connply with the terms of this Plea Agreement, the United States will move to dismiss

the remaining counts of the Indictment pending against Defendant in this case.

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20. Voluntariness of Plea Agreement
Defendant acknowledges that no threats have been made against Defendant and
that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.
21. Breach and Waiver
Defendant agrees that defendant will have breached this Plea Agreement if,
after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill
completely each and every one of Defendant’s obligations under this Plea Agreement;
(b) engages in any criminal activity prior to sentencing; or (c) attempts to withdraw
Defendant’s guilty plea. In the event of such a breach, the United States will be free
from its obligation under this Plea Agreement and Defendant will not have the right
to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in breach
of the Plea Agreement, Defendant is deemed to have waived any objection to the
reinstatement of any charges under the Indictment, Information, or complaint which
may have previously been dismissed or which may have not been previously
prosecuted.
22. Potential Impact on Immigration Status
Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), Defendant hereby
agrees and recognizes that if convicted, a Defendant who is not a United States citizen
may be removed from the United States, denied citizenship, and denied admission to

the United States in the future.

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23. Felony Conviction
Defendant hereby agrees and recognizes that the plea of guilty in this case will
be recognized as a felony conviction, which will result in the loss of certain rights,
including but not limited to the right to vote in a federal election, to serve as a juror,
to hold public office, and to lawfully possess a firearm.

W. Stephen Muldrow
United States Attorney

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Teresa S, [Zaiput'd-Vatladares Lydia Lizarribar-Masini

Assistant U.S. Attorney Counsel for a a)
Deputy Chief, Gang Section _ Dated:

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Richard Vance Eaton Melson Suarez- Ortiz
Special Assistant U.S. Attorney Defendant
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Camille Garcia-Jiménez
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UNDERSTANDING OF RIGHTS

I have consulted with counsel and fully understand all of my rights as to the
charges pending against me. Further, I have consulted with my attorney and fully
understand my rights as to the provisions of the Guidelines that may apply in my case.
I have read this Plea Agreement and carefully reviewed every part of it with my
attorney. My counsel has translated the Plea Agreement to me in the Spanish language

and I have no doubts as to the contents of the agreement. I fully understand this

agreement and voluntarily agree to it. Ae .
Date: [2] wW | W thu ty LEE

Nélson Suarez-Ortiz
Defendant

I am the attorney for Defendant. I have fully explained Defendant’s rights to
Defendant with respect to the pending charges. Further, I have reviewed the applicable
provisions of the Guidelines and I have fully explained to Defendant the provisions of
those Guidelines that may apply in this case. I have carefully reviewed every part of
this Plea Agreement with Defendant. I have translated the Plea Agreement and
explained it in the Spanish language to the Defendant who has expressed having no
doubts as to the contents of the agreement. To my knowledge, Defendant is entering
into this Plea Agreement voluntarily, intelligently, and with full knowledge of all

consequences of Defendant’s plea of guilty.

Date: _] > WwW COS eS SS ==

Lydia Lizarribar-Masini
Counsel for Defendant

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STIPULATION OF FACTS

In conjunction with the submission of the accompanying Plea Agreement in
this case, the Defendant Nelson Sudrez-Ortiz admits that Defendant is guilty as
charged in the Indictment and admits the following:

Had this matter proceeded to trial, the United States would have presented.
evidence through the testimony of witnesses as well as physical evidence and
documentary evidence, which would have proven beyond a reasonable doubt
Defendant’s guilt.

From at least in or about the year 2020 and continuing up to and until March
16, 2021, [9] Nelson Suarez-Ortiz, a/k/a “El Cocinero”, “El Quemao”, did
knowingly and intentionally, combine, conspire, and agree with others, to possess with
intent to distribute five kilograms or more of a mixture and substance containing a
detectable amount of cocaine, a Schedule II Narcotic Drug Controlled Substance in
violation of 21 U.S.C. §§ 841(a)(1) & (b)(1)(A)Gi) and 846.

The object of the drug conspiracy was the distribution of wholesale amounts of
cocaine within Puerto Rico and the continental United States for financial gain and
profit. Nelson Sudrez-Ortiz participated in the conspiracy since the year 2020. On
several occasions Nelson Sudrez-Ortiz sent to the continental United States more than
5 kilograms of cocaine through SSH Movers, a shipping company located in Dorado,
Puerto Rico. He also invested money in buying kilograms of cocaine.

Specifically, in February 2021, Nelson Sudrez-Ortiz received kilograms of

cocaine that later were shipped to the continental United States through the shipping

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company SSH Movers. On March 4, 2021, agents seized the 65 kilograms of cocaine
sent by Nelson Suarez-Ortiz and others.

On March 15, 2021, agents were surveilling a residence located at Jardines de
Dorado, Gardenia Street D-14 in Dorado, Puerto Rico. An individual arrived at the
residence in a Ford E350 Van. The agents observed three individuals concealing
kilograms of cocaine inside five-gallon buckets. The buckets were then placed inside
the van.

Two of the individuals left the residence driving the van. They arrived at SSH
Movers shipping company. Shortly after, agents arrived and observed several
individuals within the shipping company grounds, including the ones that arrived in
the van. One of the individuals dropped a brown box onto the ground. The box
contained $28,000 in US currency. Inside the van, the agents found and seized,
amongst other things, a loaded Glock pistol, plastic and rubber wrappings with cocaine
residue. Nelson Suarez-Ortiz was one of the individuals receiving the five-gallon
buckets with kilograms of cocaine inside. Nelson Sudarez-Ortiz and three others were
arrested. Further investigation revealed that when the agents arrived to SSH Movers,
a drug transaction had just occurred. Unknown individuals had moved and hidden
the five-gallon buckets with the kilograms of cocaine.

For purposes of this plea agreement Nelson Suarez-Ortiz accepts responsibility
for conspiring to possess with intent to distribute at least fifty kilograms (SOKG) but

less than one-hundred and fifty kilograms (150g) of cocaine.

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During the same period of time, from at least in or about the year 2020 and
continuing up to and until March 16, 2021, [9] Nelson Suarez-Ortiz, a/k/a “El
Cocinero”’, “El Quemao”, did knowingly combine, conspire, and agree with others,
to conduct and attempt to conduct financial transactions affecting interstate
commerce and foreign commerce, which transactions involved the proceeds of drug
trafficking, knowing that the transactions were designed in whole or in part to conceal
and disguise the nature, location, source, ownership, and control of the proceeds of
specified unlawful activity, and that while conducting and attempting to conduct such
financial transactions, knew that the property involved in the financial transactions
represented the proceeds of some form of unlawful activity. All in violation of 18

U.S.C. §§ 1956(a)(1)(B)@ & (h).

(v The object of the conspiracy to launder monetary instruments was to conduct

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financial transactions with the proceeds of drug trafficking that would conceal and
disguise the nature, location, source, ownership, and control of the proceeds by
transferring the proceeds from the continental United States to co-conspirators in
Puerto Rico.

For purposes of this plea agreement Nelson Suarez-Ortiz accepts responsibility
for conspiring to launder money by conducting financial transactions with drug
trafficking proceeds. Defendant further acknowledges he knew the money being

transferred was the product of specified unlawful activity, specifically, drug trafficking.

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At trial, the United States would have proven beyond a reasonable doubt that
defendant Nelson Sudrez-Ortiz is guilty as charged in Count One of the Indictment.

Discovery was timely made available to Defendant for review.

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Camille Garcia-Jimhénez Lydia Lizarribar-Masini

Assistant US Attorney _ Counsel f ndant
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